USDC IN/ND case 2:21-cv-00387-TLS-JPK document 1-1 filed 12/16/21 page 1 of 9




                      Notice of Removal




     EXHIBIT A
          USDC IN/ND case 2:21-cv-00387-TLS-JPK document 1-1 filed 12/16/21 page 2 of 9




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                                                                                                     Transmittal Number: 23970531
Notice of Service of Process                                                                            Date Processed: 10/26/2021

Primary Contact:           William Leon Nash
                           CN
                           17641 Ashland Ave
                           Homewood, IL 60430-1339

Electronic copy provided to:                   Jody Evely

Entity:                                       Illinois Central Railroad Company
                                              Entity ID Number 3245423
Entity Served:                                Illinois Central Railroad Co.
Title of Action:                              Margaret Tucker vs. Illinois Central Railroad Co.
Matter Name/ID:                               Margaret Tucker vs. Illinois Central Railroad Co. (11678366)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Lake County Superior Court, IN
Case/Reference No:                            45D01-2110-CT-001018
Jurisdiction Served:                          Indiana
Date Served on CSC:                           10/25/2021
Answer or Appearance Due:                     23 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Schafer & Schafer, LLP
                                              219-947-1911

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                                                                                Filed: 10/15/2021 12:28 PM
         USDC IN/ND case 2:21-cv-00387-TLS-JPK    document
                                    4JD®l _211 0_CiT-®®101$ 1-1 filed 12/16/21 page   3 of 9          Clerk
                                                     Lake Superior Court, Civil Division 1                                    Lake County, Indiana


STATE OF INDIANA                                              IN THE CIRCUIT/SUPERIOR COURT OF LAKE COUNTY
                                 SS:                          CIVIL DIVISION, ROOM
COUNTY OF LAKE

MARGARET TUCKER,                                              Cause No.:
 Plaintiff(s)

                                                                      SUMM®NS'
ILLINOIS CENTRAL RAILROAD, et al
  Defendant(s)


THE STATE OF INDIANA TO THB DEFENDANT:                               Narne II.I,INOIS CENTRAL RAILROAI) CO.
                                                                     ATTN: Registered Agent Corporation Serviee Co.
                                                                           135 N Pennsylvania St. Ste 1610
                                                                           Indianapolis, IN 46204

You have been sued by the person(s) identified as "PlaintifP in the Court stated above.

The nature of the suit against you is stated in the COMPLAINT which is attached to this SUMMONS. It also states the demand which the
Plaintiff has made against you.

You must either personally or by your attorney file your written answer to the COMPLAINT with the Clerk within twenty (20) days
commencing the day after this SUMMONS and the COMPLAINT were personally served upon you or your agent or left for you by the
Sheriff or other process server.

In the event the SUMMONS and COMPLAINT were left for you and you then receive by first class mail (not certified) a copy of the
SUMMONS alone, this mailing is merely a confirmation that the SUMMONS and COMPLAINT were previously left for you. You should
not consider the date on which you receive the mailed SUMMONS as the commencement date for the time period allowed for your answer.
Rather, the time period allowed for your written answer conunences on the date when the SUMMONS and COMPLAINT were first
personally served upon you or your agent or left for you by the Sheriff or other process server.

However, if you or your agent first received the SUMMONS and the COMPLAINT by certified mail, you have twenty-three (23) days from
the date of receipt to file your written answer with the Clerk.

If you fail to answer the COMPLAINT of the Plaintiff within the times prescribed herein, judgment will be entered against you for what
the Plaintiff has demanded

If you have a claim against the Plaintiff arising from the same transaction or occurrence, you may be required to assert such claim in writing
together with your written answer.
                                                                                          +~~~
                                                                                          1.? ~(~
The following manner of service is hereby designated: Certiffied 1l~ail RR#70201290000104493~.~`~                                    -
                                                                                               021
Attorney for Plaintiff: Timothy S. Schafer II
Ind. Atty. No.: 29474-64
3820 E. U.S. 30, Merrillville, IN 46410                                             LAKE CIRCUIT AISUPE                         TS
Tel. No.:      (219) 947-1911                                                       WL
                                                   By:
                                                   Deputy Clerk
PREPARATION DATA:                                                                                                  j~D      ~ ~,,a~`
All Summons are to be prepared in triplicate with the original of each to be placed in the Court file with two co • t~~~=~e" for service.
If service is by certified mail a properly addressed envelope shall be provided for each Defendant. Certified mail labels and return receipts
must also be furnished for each mailing and the cause number must appear on each return receipt, which shall be returnable to the Clerk at
the address of the Court. CS 1/97)
          USDC IN/ND case 2:21-cv-00387-TLS-JPK document 1-1 filed 12/16/21 page 4 of 9


                                         RETURN ON SERVICE OF SUIbIlOYiOliTS


I certify that I have served the within summons:


1. By delivering on the       day of _                         20     , a copy of this summons and a copy of the complaint
to each of the within-named defendant(s)


     2.   By leaving on the         day of                            20     , for each of the within named defendant(s)

                                                , a copy of the summons and a copy of the,complaint at the respective dwelling
house or usual place of abode with                                                          , a person of suitable age and
discretion residing therein whose usual duties or activities include prompt communication of such information to the person
served.
     3.


and by mailing a copy of the summons without the complaint to


at                                                        the last known address of the defendant(s).
          All done in                                    County, Indiana.


Fees:            $
Mileage:                                                 Sheriff of                            County, Indiana
Total:           $                                      By                                              Deputy


                                             SERVICE ACKNOWI,EDfGEIA
          A copy of the within summons and a copy of the complaint attached thereto were received by me at
                                               , this    day of                        9 20




                                                                                        Signature of Defendant
                           45D01-2110-CT-001018                     Filed: 10/15/2021 12:28 PIN
USDC IN/ND case 2:21-cv-00387-TLS-JPK  document 1-1 filed 12/16/21 page   5 of 9          Clerk
                                    Lake Superior Court, Civil Division 1                     Lake County, Indiana




  STATE OF INDIANA               )                 IN THE LAKE CIRCUIT/SUPERIOR COURT
                                 )SS.
  COUNTY OF LAKE                 )                 SITTING AT                         , INDIANA

  MARGARET TUCKER,                                 )
                                                   )
     Plaintiff
                                                   )
          vs.                                      ) CAUSE:
                                                   )
  ILLINOIS CENTRAL RAILROAD CO.,                   }
  ILLIANA CENTRAL RAILROAD, and                    )
  CANADIAN NATIONAL RAILWAY,
                                                   )
     Defendants                                    )


                                              C®1VIPLAINT
          Comes now plaintiff, Margaret Tucker, by her attorneys, Schafer & Schafer, LLP, and

  complaining of the defendants, Illinois Central Railroad Company, Illiana Central Railroad and

   Canadian National Railway alleges and states:

          1.      That plaintiff, Margaret Tucker, at all times relevant herein was a resident' of

   Highland, Indiana.

          2.      That defendants owned and operated a railroad that intersects the Erie

   Lackawanna bike trail Broad Street in Griffith, Indiana 46385.

          3.      That at all times relevant herein, Illinois Central Railroad Company, Illiana

   Central Railroad and Canadian National Railway were in control, possession and management of

   said railroad in which defendants conducted business.

          4.      That at all times relevant herein defendants, Illinois Central Railroad Company,

   Illiana Central Railroad and Canadian National Railway were under a duty to maintain and

   supervise said property so as to keep it in a reasonably safe condition for invitees.

          5.      That on or about May 27, 2020, plaintiff, Margaret Tucker, was riding her bicycle
   on said bike trail and was an invitee on the premises of the defendant.

          6.      That plaintiff, Margaret Tucker's, bike tire got stuck in a dangerous, hazardous,

   and latent condition that was allowed to exist on the tracks, and as a result thereof, caused
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    USDC IN/ND case 2:21-cv-00387-TLS-JPK document 1-1 filed 12/16/21 page 7 of 9
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USDC IN/ND case 2:21-cv-00387-TLS-JPK document 1-1 filed 12/16/21 page 8 of 9




                                                 Respectfiilly submitted;,

                                                 SCHAF.ER & S HAFER; LLP
                                                 AA.TTORN9YS AT LAW


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                                                Respectfiilly submitted;

                                                'SCHAFER:;& SCHAFER, LLP
                                                 ATTORNEY.S AT:LA'Vix



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         USDC IN/ND case 2:21-cv-00387-TLS-JPK document 1-1 filed 12/16/21 page 9 of 9                                   ~u
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                     SCHAFER 8t SCHAFER,            LLP
                            ATTORNEYS AT LAW
                                 3820 E. U.S. 30
                         MERR ILLVI LLE, INDIANA 46410



          rO
                     Illinois Central Railroad
                                                 Co.
                     C/O RA Corporation Service
                     135 N Pennsylvania St. Ste 1610
                     Indianapolis, IN 46204
